                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                           )
                                                    )
                       Plaintiff,                   )
                                                    )
v.                                                  )           No. 3:07-CR-67
                                                    )           (JORDAN/SHIRLEY)
JOSEPH DILLARD and                                  )
BRYAN CLAIBORNE,                                    )
                                                    )
                       Defendants.                  )


                                      PRETRIAL ORDER


               This action came before the Court pursuant to a telephone conference on August 16,

2007 in which Tracy Stone as counsel for the government and Alexander Brown as counsel for

defendant Joseph Dillard and Jonathan Moffatt as counsel for defendant Bryan Claiborne, indicated

that this Pretrial Order could be entered without the necessity of a formal hearing or pretrial

conference.

                                                 I.

               There are no pending motions in this case.

                                                II.

               Trial procedures to be followed in this case are as follows:

               (a) Jury Selection. The Court will conduct a preliminary voir dire examination of

the jury, and then counsel will be permitted to conduct voir dire examination. The Court reserves

the right to interrupt counsel and conduct voir dire on its own if counsel ask improper questions or

if the proceedings are unnecessarily prolongated.



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                (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

entitled to ten peremptory challenges and the government is entitled to six.

                (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

identified as of this time.

                (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

problems were identified as of this time.

                (e) Special Requests for Jury Instructions. If counsel have any special requests

for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                (f) Additional Motions. No more motions, other than motions in limine, will be

allowed to be filed in this cause of action by either side without prior leave of Court to do so, since

the motion cut-off date has passed. All motions in limine must be filed at least five (5) working days

before trial. Responses to motions in limine are due at least two (2) working days before trial.

                (g) Admissions and Stipulations. Counsel should meet in advance of trial and care-

fully review the trial exhibits with a view toward stipulating the admissibility of as many exhibits

as possible. Any admissions and stipulations of fact to be used at trial shall be signed by Defendant’s

attorney and the Defendant and filed at least five (5) working days before trial.

                (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves with

Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.




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                                              III.

              This case will be set for trial before the Honorable Leon Jordan and a jury, to

commence at 9:00 a.m. on September 12, 2007.

              If counsel have any objections to this Pretrial Order, such objection should be taken

up pursuant to Local Rule 72.4(b), EDTN.

              IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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